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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §                Case No: 2:15-cv-01645-JRG-RSP
                                     §
 vs.                                 §                LEAD CASE
                                     §
 TING, INC.                          §
                                     §
       Defendant.                    §
 ____________________________________§
.
                  ORDER OF DISMISSAL OF DEFENDANT TING, INC.
                             WITHOUT PREJUDICE

       On this day the Court considered the Unopposed Motion to Dismiss Ting, Inc. Without
Prejudice, in the lawsuit between Plaintiff Rothschild Connected Devices Innovations, LLC
(“Rothschild”) and Ting, Inc. Having considered the Motion and the pleadings in this case, the
Court is of the opinion that the Motion should be, and is hereby, GRANTED.
       It is therefore ORDERED that all claims asserted by Rothschild Connected Devices
Innovations, LLC against Ting, Inc. are hereby DISMISSED WITHOUT PREJUDICE pursuant
to Fed. R. Civ. P. 41(a), with each party to bear its own costs, attorneys’ fees and other litigation

       SIGNED this 3rd day of January, 2012.
expenses.
       SIGNED this 14th day of January, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
